             Case 2:16-cv-00077-TSZ Document 167 Filed 11/15/17 Page 1 of 2



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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
       BANK OF NEW YORK MELLON,
 8                           Plaintiff,
 9         v.                                          C16-77 TSZ
10     SCOTT STAFNE; and MAYUMI                        MINUTE ORDER
       OHATA STAFNE, as Administrator of
11     the Estate of Todd Stafne,
12                           Defendants.

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        The following Minute Order is made by direction of the Court, the Honorable
14 Thomas S. Zilly, United States District Judge:

             (1)    By Order filed on April 20, 2017, docket no. 124, the United States Court
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     of Appeals for the Ninth Circuit remanded this matter for the limited purpose of enabling
     this Court to consider plaintiff’s motion to amend judgment. Shortly thereafter, Todd
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     Stafne died, see Notice (docket no. 130), and a few months later, upon plaintiff’s motion,
     Mayumi Ohata Stafne, as Administrator of the Estate of Todd Stafne, was substituted as a
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     defendant. Minute Order (docket no. 152). In the meanwhile, defendant Scott Stafne
     unsuccessfully sought to disqualify the district judge presiding over this matter. See
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     Order (docket no. 137). Pursuant to the parties’ subsequent stipulation, the Court
     postponed ruling on plaintiff’s motion to amend judgment for 60 days to allow the parties
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     to confer and propose an amended judgment on which they all agreed. Minute Order
     (docket no. 163). On October 23, 2017, the parties filed a Joint Status Report, docket
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     no. 165, indicating that they need additional time to pursue settlement. The Court has
     now been advised that defendant Scott Stafne has filed a lawsuit captioned Stafne v. Zilly,
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     et al., Case No. C17-1692-RSL, naming as defendants both the district judge presiding
     over this matter and one of the two Circuit Judges who ordered the limited remand in
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     MINUTE ORDER - 1
            Case 2:16-cv-00077-TSZ Document 167 Filed 11/15/17 Page 2 of 2



 1 COA No. 16-36032. In light of these developments, the Court hereby STAYS this case
   until further order.
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           (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
 3 record and to the United States Court of Appeals for the Ninth Circuit.

 4         Dated this 15th day of November, 2017.

 5                                                   William M. McCool
                                                     Clerk
 6
                                                     s/Karen Dews
 7                                                   Deputy Clerk
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     MINUTE ORDER - 2
